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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MARK ANTHONY ANDERSON
                                                   Case No. 19-10888-KHK

                           Debtor

             OBJECTION TO CONFIRMATION OF MODIFIED PLAN,
         NOTICE OF OBJECTION TO CONFIRMATION OF MODIFIED PLAN
                                  AND
            NOTICE OF SCHEDULED HEARING ON THIS OBJECTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this objection to confirmation of
     your Modified Chapter 13 Plan filed April 22, 2020. The cause for this objection is as
     follows:
            Violation of 11 U.S.C. §1325(a)(6) – Feasibility.
               • Debtor seeks to include post-petition mortgage arrearages in his new
                   Plan but he would be in immediate payment default on this Plan if it
                   were confirmed.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the objection, or if you
     want the court to consider your views on the objection, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before the date stated above. You must mail a copy to the
            persons listed below.
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     Notice of Objection To Confirmation
     Mark Anthony Anderson, Case # 19-10888-KHK

            Attend the hearing to be held on June 1, 2020 at 1:30 p.m., in Courtroom III
            on the 3rd floor, United States Bankruptcy Court, 200 South Washington
            Street, Alexandria, VA 22314. If no timely response has been filed opposing
            the relief requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste, 400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

             If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion or objection and may enter an order granting that
     relief.

     Date: _May 15, 2020______                            __/s/Thomas P. Gorman ________
                                                          Thomas P. Gorman
                                                          Chapter 13 Trustee
                                                          300 N. Washington Street, #400
                                                          Alexandria, VA 22314
                                                          (703) 836-2226
                                                          VSB 26421

                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 15th day of May, 2020, served via ECF to authorized
     users or mailed a true copy of the foregoing Objection to Confirmation, Notice of
     Objection and Notice of Hearing to the following parties.

     Mark Anthony Anderson                        Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     1411 Admiral Drive                           Fisher-Sandler, LLC.
     Woodbridge, VA 22192                         3977 Chain Bridge Rd. #2
                                                  Fairfax, VA 22030


                                                          __/s/ Thomas P. Gorman______
                                                          Thomas P. Gorman
